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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


                                                      )
Thomas Sierra,                                        )
                                                      )
               Plaintiff,                             )
                                                      )       Case No. 18 CV 3029
       v.                                             )
                                                      )
Reynaldo Guevara, et. al.                             )
                                                      )
               Defendants.                            )
                                                      )


                                      SUPPLEMENT TO
                              COOK COUNTY PUBLIC DEFENDER’S
                            MOTION TO QUASH OR MODIFY SUBPOENA


       On June 21, 2021, the Public Defender of Cook County filed a motion to quash or modify a

subpoena directed to the Cook County Public Defender, (CCPD), a non-party, as being unduly

burdensome. Since that date, new developments have surfaced which further highlight why this

subpoena, along with subpoenas issued in related cases filed by Plaintiff’s attorneys, foist an untenable

burden on the CCPD.

       The Subpoena Issued to the CCPD in this Case and the Reyes case.

       As discussed in the CCPD’s motion, Plaintiffs served upon the CCPD a subpoena to produce

documents (the “Sierra Subpoena”). This subpoena directed the CCPD to produce 515 case files. An

additional 23 files were later added to the list of subpoenaed files. A few months after they sent the

Sierra Subpoena to the CCPD, counsel for the Plaintiffs in this case also sent a subpoena to the CCPD

on behalf of the Plaintiff in Reyes v. Reynaldo Guevara, 18 CV 1028 (the “Reyes Subpoena”).

Attached to that subpoena was a rider directing the CCPD to produce an additional 263 of its case files.



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       Combined, the Reyes Subpoena and the Sierra Subpoenas directed the CCPD to produce a total

of 801 files. This number is four times the average number of files the CCPD is requested to produce in

a normal calendar year.

The Velez Subpoena

       On July 21, 2021, the CCPD received a subpoena issued in Velez v. City of Chicago, 18 CV

8144, which requires it to produce files relating to about 900 RD numbers. (Exhibit A) Because one RD

number may correspond to multiple criminal files, the plaintiff’s attorneys in Velez are most likely

demanding well over 1000 files from the CCPD. This is in addition to the 801 files already demanded

from the CCPD in this case and the Reyes case. The CCPD simply does not have the resources to

respond to these demands and cannot afford to have its limited staff and funds diverted to work

unrelated to its mission.

       Not all tasks associated with responding to these subpoenas can be outsourced. Only long-time

CCPD staff members who are familiar with the multiple systems used to store files and number boxes

can determine in which boxes the requested files may be found. Only CCPD staff members can locate

those boxes in the warehouse. Only CCPD attorneys can review those files, which sometime contain

thousands of documents, to determine which documents must be withheld or redacted. Therefore,

outsourcing certain other tasks related to the production does not remove the excessive burden that falls

on the CCPD.

       Before receiving any of the subpoenas issued in the Reyes, Sierra and Velez cases, the CCPD

had already accumulated a backlog of over 100 unfulfilled subpoena demands due to the pandemic.

Thus, each of the subpoenas issued in these three cases places an unprecedented demand on the CCPD,

which was already stressed by other unrelated subpoenas.




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        Conclusion

        As the CCPD argued in its motion, this Court should examine the cumulative effect of subpoenas

issued to the CCPD in these three similar cases (Reyes, Sierra and Velez), brought by the same

attorneys, when determining if those subpoenas are burdensome. The CCPD also asks the Court to

consider the high likelihood that more subpoenas will be served upon the CCPD in other similar pending

cases. Private litigants may financially benefit from the outcome of this litigation, but the CCPD, drawn

into this dispute against its will, will not benefit in any way.

        Wherefore, the CCPD requests that the Plaintiffs’ subpoena served upon the CCPD should be

quashed.

                                                                   Respectfully submitted,

                                                                   Sharone R. Mitchell, Jr
                                                                   Public Defender of Cook County

                                                                   /s/Karen J. Dimond
                                                                   _____________________________
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                                        Certificate of Service

     I, Karen Dimond, hereby certify that on July 27, 2021, I e-filed a copy of the above
SUPPLEMENT TO COOK COUNTY PUBLIC DEFENDER’S MOTION TO QUASH OR
MODIFY SUBPOENA and that all counsel of record will thereby receive a copy of it.

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                                                               /s/Karen J. Dimond




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